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      FILED & JUDGMENT ENTERED
             Steven T. Salata


                  October 19 2022


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                                    _____________________________
                                                                                             J. Craig Whitley
                                                                                      United States Bankruptcy Judge



                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION


    In re:
                                                                     Chapter 7
                                    1
    Power Home Solar, LLC
                                                                     Case No. 22-50228
                                        Debtor.



                            STIPULATION AND AGREED ORDER
                      AUTHORIZING LIMITED USE OF CASH COLLATERAL

                     This Stipulation is made by and between (a) JPMorgan Chase Bank, N.A

(“JPMorgan”), solely in its capacity as administrative agent under the Credit Agreement

(as defined below), and (b) Jimmy R. Summerlin, Jr., solely in his capacity as chapter 7 trustee

(the “Trustee” and, together with JPMorgan, the “Parties”) of Power Home Solar, LLC

(the “Debtor”). As indicated by the signatures of each of their respective undersigned counsel,

the Parties agree, and stipulate, as follows:

                                                   RECITALS
             A.      On October 7, 2022 (the “Petition Date”), the Debtor commenced the above-

captioned proceedings by filing a voluntary petition under chapter 7 of title 11 of the United

States Code.

1
 The last four digits of the Debtor’s taxpayer identification number are 9854. The Debtor’s address is: 919 N. Main
St., Mooresville, North Carolina 28115.


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         B.    Prior to the Petition Date, Debtor was party to that certain Credit Agreement,

dated as of November 23, 2021 (the “Credit Agreement”), by and among the Debtor, certain

participating lenders (collectively, the “Lenders”), and JPMorgan, as administrative agent.

Pursuant to the Credit Agreement, the Debtor obtained access to several lines of credit in the

aggregate amount of approximately $80,000,000.

         C.    In connection with the Credit Agreement, the Debtor executed the Pledge

Agreement and the Pledge and Security Agreement dated November 23, 2021 (together,

the “Security Agreements”), in JPMorgan’s favor in its capacity as administrative agent under

the Credit Agreement. JPMorgan asserts that pursuant to the Security Agreements, the Debtor

granted JPMorgan a first-lien security interest in substantially all of its assets (the “Collateral”),

securing the Debtor’s obligations under the Credit Agreement. JPMorgan asserts it perfected its

lien on the Collateral by filing financing statements as required by applicable law.

         D.    As of the Petition Date, the Debtor had borrowed, including accrued interest,

approximately $83,106,134.87 under its various lending arrangements with the Lenders

(the “Secured Claim”).

         E.    The Collateral includes cash maintained in certain bank accounts with JPMorgan

(the “Bank Accounts”), and which are subject to an administrative block, implemented under a

Blocked Account Control Agreement between Debtor and JPMorgan, as administrative agent

under the Credit Agreement, dated as of January 12, 2022.

         F.    As of the Petition Date, Debtor had approximately $135,997.04 (the “Cash

Collateral”) in such Bank Accounts.

         G.    As of the date hereof, the Trustee has not had an opportunity to evaluate

JPMorgan’s assertions with respect to the Secured Claim and the supporting documentation.




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         H.    As of the date hereof, the Trustee is in need of additional funds in order to

properly stabilize the Debtor’s estate on an emergency basis, evaluate assets and liabilities

thereof, and determine the proper strategy in liquidating the Debtor’s affairs.

         I.    The Parties have engaged in discussions regarding the Trustee’s need for access to

emergency funding and believe it is appropriate for JPMorgan to release certain Cash Collateral

on an emergency basis.

                                            STIPULATION

               NOW, THEREFORE, it is hereby stipulated and agreed by and among the

Parties, as follows:

         1.    JPMorgan grants the Trustee emergency access to utilize the Cash Collateral in an

amount not to exceed $135,997.04, with an initial advance as reflected on the “Budget” attached

as Exhibit 1 (such amount, the “Advance”).

         2.    To the extent any additional Advance is required (such advance, an “Additional

Advance”), the Trustee and JPMorgan will jointly file a notice including an updated Budget

reflecting the need for any Additional Advance.

         3.    Nothing herein shall be deemed a waiver of any rights of the Trustee to evaluate

and object to any proofs of claim, security interests, or purported liens, and the Trustee hereby

reserves all rights with respect thereto.

         4.    The Trustee, with approval of the Court, grants JPMorgan a replacement lien on

the proceeds of the Collateral (e.g., collection of accounts receivable) on any unencumbered

assets up to the amount of the Advance (and any subsequent Additional Advance) as adequate

protection for the use of such Cash Collateral.




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         5.   In the event the Trustee requires an Additional Advance, the Parties shall file a

supplement to this Stipulation attaching a revised Budget reflecting such amounts.

Dated: October 17, 2022.

Agreed and Stipulated to By:


/s/ A. Lee Hogewood III
A. Lee Hogewood III
North Carolina State Bar No. 17451
K&L Gates LLP
4350 Lassiter at North Hills Avenue, Suite 300
Raleigh, North Carolina 27609
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COUNSEL TO JPMORGAN CHASE, N.A.

-and-

/s/ Jimmy R. Summerlin, Jr.
Jimmy R. Summerlin, Jr.
North Carolina State Bar No. 31819
Young Morphis Bach and Taylor LLP
858 2nd Street NE, Suite 200
Hickory, North Carolina 28603
Telephone: (828) 322-4663
Facsimile: (828) 324-2431
Email: jimmys@hickorylaw.com

CHAPTER 7 TRUSTEE


This Order has been signed                                 United States Bankruptcy Court
electronically. The judge’s signature
and court’s seal appear at the top of
the Order.




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                                                Exhibit 1

                                   Budget (Through November 7, 2022)

         Expense Type                       Expense Amount                      Notes

                                                                   Includes five former
                                                                   employees of the Debtor of
                Payroll                         $40,000
                                                                   varying pay rates, between
                                                                   $1,538 and $2,500 per week

                                                                   Dominion Energy –
                                                                   Disconnect as of 10/19
              Utility Bills                     $724.72            Maintain gas utility service at
                                                                   Corporate Office (919 N.
                                                                   Main St., Mooresville, NC)

                                                                   Duke Energy – Due 11/1
                                                                   Maintain electrical utility
              Utility Bills                     $3,760.61          service at Corporate Office
                                                                   (919 N. Main St.,
                                                                   Mooresville, NC)

                                                                   Spectrum –
              Utility Bills                     $604.56            Maintain internet service at
                                                                   Corporate Office (919 N.
                                                                   Main St., Mooresville, NC)

                                                                   Town of Mooresville –
              Utility Bills                     $323.48            Maintain water/sewer service
                                                                   at Corporate Office (919 N.
                                                                   Main St., Mooresville, NC)

               TOTAL:                          $45,413.37                         –




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